       Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 1 of 33



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


GEIGTECH EAST BAY LLC,                    No. 1:18-cv-05290-CM

                 Plaintiff,               ECF Case

           v.

LUTRON ELECTRONICS CO., INC.,

                 Defendant.




  DEFENDANT LUTRON ELECTRONICS CO., INC.’S MEMORANDUM OF LAW
 IN OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION




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             Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 2 of 33




                                                    TABLE OF CONTENTS

                                                                                                                                             Page

PRELIMINARY STATEMENT .................................................................................................... 1

BACKGROUND ............................................................................................................................ 2

ARGUMENT .................................................................................................................................. 3

I.        GEIGTECH HAS NOT SHOWN THAT IT WILL SUFFER IRREPARABLE
          INJURY ABSENT A PRELIMINARY INJUNCTION. .................................................... 4

          A.         GeigTech’s unjustified nine-month delay in filing suit and seeking
                     preliminary relief confirms that expedition is not needed. ..................................... 4

          B.         Even apart from its delay, GeigTech’s conclusory assertions are
                     insufficient on their face to meet its burden of demonstrating irreparable
                     injury. ...................................................................................................................... 7

II.       GEIGTECH IS NOT LIKELY TO SUCCEED ON ITS PATENT CLAIM. ..................... 8

          A.         GeigTech’s patent infringement claim is narrow and unsupported and is
                     not likely to succeed on the merits. ......................................................................... 8

                     1.         The asserted patent claims were narrowed during
                                prosecution in important ways. ................................................................... 9

                     2.         GeigTech makes no attempt to construe critical claim
                                elements and glosses over the requirement to compare them
                                to the accused product. .............................................................................. 10

          B.         There are also substantial and serious questions about the validity and
                     enforceability of GeigTech’s patent...................................................................... 13

                     1.         Unbeknownst to the Patent Examiner, pre-existing Somfy
                                shades and motors practically mandated the “key”
                                limitation that GeigTech added to secure its patent. ................................. 14

                     2.         Still earlier Somfy shade brackets, which GeigTech also
                                did not disclose to the Patent Office, invalidate claims 9
                                and 15. ....................................................................................................... 16

III.      GEIGTECH IS NOT LIKELY TO SUCCEED ON ITS TRADE DRESS CLAIM. ....... 17

IV.       GEIGTECH’S UNJUST ENRICHMENT CLAIM IS NOT LIKELY TO
          SUCCEED ........................................................................................................................ 23


                                                                        i
             Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 3 of 33



V.        THE BALANCE OF EQUITIES STRONGLY TIPS IN LUTRON’S FAVOR .............. 23

VI.       THE PUBLIC INTEREST WOULD BE DISSERVED BY AN INJUNCTION............. 25

CONCLUSION ............................................................................................................................. 25




                                                                    ii
             Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 4 of 33



                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)
CASES

Allen Organ Co. v. CBS, Inc.,
    1986 WL 4901 (S.D.N.Y. Apr. 21, 1986)..................................................................................6

Am. Permahedge, Inc. v. Barcana, Inc.,
   857 F. Supp. 308 (S.D.N.Y. 1994) ......................................................................................6, 25

Bear U.S.A., Inc. v. A.J. Sheepskin & Leather Outerwear, Inc.,
   909 F. Supp. 896 (S.D.N.Y. 1995) ............................................................................................4

Bubble Genius LLC v. Smith,
   239 F. Supp. 3d 586 (E.D.N.Y. 2017) .....................................................................................23

Centricut, LLC v. Esab Grp., Inc.,
   390 F.3d 1361 (Fed. Cir. 2004)................................................................................................12

Century Time Ltd. v. Interchron Ltd.,
   729 F. Supp. 366 (S.D.N.Y. 1990) ............................................................................................4

Chem. Eng’g Corp. v. Marlo, Inc.,
   754 F.2d 331 (Fed. Cir. 1984)....................................................................................................8

Christian Louboutin S.A. v. Yves Saint Laurent Am. Holdings, Inc.,
   696 F.3d 206 (2d Cir. 2012).....................................................................................................21

Christopher Norman Chocolates, Ltd. v. Schokinag Chocolates N. Am., Inc.,
   270 F. Supp. 2d 432 (S.D.N.Y. 2003)........................................................................................5

Cicena, Ltd. v. Columbia Telecomm. Grp.,
   900 F.2d 1546 (Fed. Cir. 1990)................................................................................................20

Citibank, N.A. v. Citytrust,
    756 F.2d 273 (2d Cir. 1985)...................................................................................................4, 6

Citigroup Glob. Mkts., Inc. v. VCG Special Opportunities Master Fund, Ltd.,
    598 F.3d 30 (2d Cir. 2010).........................................................................................................4

eBay Inc. v. MercExchange, L.L.C.,
   547 U.S. 388 (2006) ...................................................................................................................7

Fair Isaac Corp. v. Int’l Bus. Machs. Corp.,
   2006 WL 1283852 (D. Minn. 2006) ........................................................................................11

Fisher-Price Inc. v. Well-Made Toy Mfg. Corp.,
   25 F.3d 119 (2d Cir. 1994).........................................................................................................7


                                                                    iii
              Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 5 of 33



                                                                                                                                    Page(s)
Genentech, Inc. v. Novo Nordisk A/S,
   108 F.3d 1361 (Fed. Cir. 1997)..................................................................................................8

Gidatex S.r.L. v. Campaniello Imps., Ltd.,
   13 F. Supp. 2d 417 (S.D.N.Y. 1998)..........................................................................................4

Hasbro Inc. v. Lanard Toys Ltd.,
   1987 WL 123983 (S.D.N.Y. Nov. 18, 1987), rev’d, 858 F.2d 70
   (2d Cir. 1988) .............................................................................................................................7

Heptagon Creations, Ltd. v. Core Grp. Mktg. LLC,
   2011 WL 6600267 (S.D.N.Y. Dec. 22, 2011), aff’d, 507 F. App’x 74
   (2d Cir. 2013) ...........................................................................................................................23

Jeffrey Milstein v. Greger, Lawlor, Roth Inc.,
    58 F.3d 27 (2d Cir. 1995).........................................................................................................23

Kind LLC v. Clif Bar & Co.,
   2014 WL 2619817 (S.D.N.Y. June 12, 2014) .........................................................................23

Mana Prods., Inc. v. Columbia Cosmetics Mfg., Inc.,
  65 F.3d 1063 (2d Cir. 1995).....................................................................................................19

Millipore Corp. v. W.L. Gore & Assocs., Inc.,
   2011 WL 5513193 (D.N.J. Nov. 9, 2011) ...............................................................................11

Monowise Ltd. Corp. v. Ozy Media, Inc.,
  2018 WL 2089342 (S.D.N.Y. May 3, 2018) .............................................................................4

Nora Beverages, Inc. v. Perrier Group of Am., Inc.,
   269 F.3d 114 (2d Cir. 2001).....................................................................................................22

Omega Eng’g, Inc. v. Raytek Corp.,
  334 F.3d 1314 (Fed. Cir. 2003)................................................................................................10

P.F. Cosmetique, S.A. v. Minnetonka Inc.,
   605 F. Supp. 662 (S.D.N.Y. 1985) ..........................................................................................20

Phillips v. AWH Corp.,
   415 F.3d 1303 (Fed. Cir. 2005)................................................................................................10

Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc.,
   711 F.3d 1348 (Fed. Cir. 2013)................................................................................................12




                                                                      iv
             Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 6 of 33



                                                                                                                               Page(s)
Qualitex Co. v. Jacobson Prod. Co.,
   514 U.S. 159 (1995) .................................................................................................................21

Salinger v. Colting,
    607 F.3d 68 (2d Cir. 2010).........................................................................................................7

Sara Designs Inc. v. A Classic Time Watch Co.,
   234 F. Supp. 3d 548 (S.D.N.Y. 2017)......................................................................................18

Tate Access Floors, Inc. v. Interface Architectural Res., Inc.,
   279 F.3d 1357 (Fed. Cir. 2002)..................................................................................................8

Teleflex, Inc. v. Ficosa N. Am. Corp.,
   299 F.3d 1313 (Fed. Cir. 2002)................................................................................................12

The Deal, LLC v. Korangy Publ’g, Inc.,
   309 F. Supp. 2d 512 (S.D.N.Y. 2004)........................................................................................4

Thompson v. V.E.W. Ltd, Coty, Inc.,
   2007 WL 1746739 (S.D.N.Y. June 15, 2007) .........................................................................18

Tom Doherty Assocs. v. Saban Entm’t,
   60 F.3d 27 (2d Cir. 1995)...........................................................................................................7

Tough Traveler, Ltd. v. Outbound Prods.,
   60 F.3d 964 (2d Cir. 1995).........................................................................................................4

Tracey Tooker & TT Ltd., Inc. v. Whitworth,
   212 F. Supp. 3d 429 (S.D.N.Y. 2016)......................................................................................18

Two Kids From Queens, Inc. v. J & S Kidswear, Inc.,
   2009 WL 5214497 (E.D.N.Y. Dec. 30, 2009) ...........................................................................4

U.S. Water Servs., Inc. v. Novozymes A/S,
   843 F.3d 1345 (Fed. Cir. 2016)................................................................................................15

Urban Grp. Exercise Consultants, Ltd. v. Dick’s Sporting Goods, Inc.,
   2013 WL 866867 (S.D.N.Y. 2013) ..........................................................................................20

Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc.,
    200 F.3d 795 (Fed. Cir. 1999)..................................................................................................10

W.B. Marvin Mfg. Co. v. Howard Berger Co.,
   33 Fed. App’x 588 (2d Cir. 2002)....................................................................................5, 6, 25

Wal-Mart Stores, Inc. v. Samara Bros., Inc.,
   529 U.S. 205 (2000) .................................................................................................................19



                                                                    v
              Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 7 of 33



                                                                                                                                    Page(s)
Ward v. Andrews McMeel Pub., LLC,
  963 F. Supp. 2d 222 (S.D.N.Y. 2013)......................................................................................21

Weight Watchers Int’l, Inc. v. Luigino’s, Inc.,
   423 F.3d 137 (2d Cir. 2005).......................................................................................................6

Winter v. Nat. Res. Def. Council, Inc.,
   555 U.S. 7 (2008) .......................................................................................................................3

Yurman Design, Inc. v. PAJ, Inc.,
   262 F.3d 101 (2d Cir. 2001).........................................................................................18, 19, 20

STATUTES

15 U.S.C. § 1125(a) .....................................................................................................17, 20, 21, 23

35 U.S.C. § 103 ..............................................................................................................................14




                                                                      vi
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 8 of 33



       Defendant Lutron Electronics Co., Inc. (“Lutron”) respectfully submits this memorandum

of law in opposition to plaintiff GeigTech East Bay LLC’s (“GeigTech”) motion for a

preliminary injunction (Dkt. 11).1

                                PRELIMINARY STATEMENT

       GeigTech’s motion is an ambush—one that depends entirely on a breathtakingly broad,

supposed “right to exclude others from the high-end exposed roller shade market.” Dkt. 15 at 8.

After lying in wait for nine months while Lutron and scores of dealers, large and small, invested

heavily in marketing a new Lutron product line, GeigTech—facing declining sales growth

throughout 2017 before Lutron launched its product—sprang into action by filing this lawsuit

and, before Lutron was even served, issuing a press release. Prior to that, GeigTech had not so

much as written Lutron a letter. Now, suddenly, it demands “an immediate injunction.” Id.

       Lutron launched its new line of Palladiom window shading products at an industry trade

show in September 2017. GeigTech concedes that it was aware of the launch and that its founder

and president visited Lutron’s booth at the trade show and observed Lutron’s Palladiom

products. Rather than object at that time, even with a simple letter, GeigTech instead waited

more than nine months before filing this suit, during which time Lutron and many shade-system

dealers continued the Palladiom launch, including publishing a product brochure and a detailed

specification sheet in October 2017 (from which GeigTech could have readily learned anything it

needed in order to investigate its claims), as well as extensive marketing, distribution, and

installer training efforts since September 2017. Without any plausible justification for its lengthy

delay, GeigTech only now seeks the extraordinary relief of a preliminary injunction that would


1
  Lutron references in this memorandum the Declaration of Edward J. Blair (“Blair Decl.”) and
the Declaration of Scott Breedlove (“Breedlove 7/26 Decl.”), both dated July 26, 2018 and filed
herewith, as well as other documents previously filed on the Court’s docket (“Dkt.”) in this case.



                                                 1
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 9 of 33



force Lutron to pull its Palladiom shading system off the market and cancel orders while this

case continues. As explained below, however, GeigTech meets none of the requirements for a

preliminary injunction.

       As a result—to prevent incalculable harm to the businesses and reputations of Lutron and

numerous shade-system dealers and to avoid cascading disruptions in ongoing construction

projects for which Palladiom products have already been specified—the Court should deny

GeigTech’s surprise motion, and the case should proceed on a regular schedule.

                                       BACKGROUND

       GeigTech alleges that its founder and president, James Geiger, invented a “concept” for a

system of window roller shades that “allow[s] for screws and wires to be concealed from view.”

Compl. (Dkt. 1) ¶¶ 10–11. GeigTech is the assignee of U.S. Patent No. 9,237,821, entitled

“Assembly for mounting shades.” Id. ¶ 22. It also claims to own unregistered product

configuration trade dress in the combination of three bracket designs—a circular jamb bracket, a

U-shaped center bracket, and a U-shaped end bracket. Id. ¶¶ 43–44. GeigTech apparently

believes that no competitor may offer window roller shades in a “clean” and “minimalist”

design, a concept GeigTech claims to have invented. See, e.g., Dkt. 15 at 1–2.2

       Lutron is a leading innovator and manufacturer of lighting controls and shading systems.

In 2015, Lutron launched its Palladiom brand, which features sleek and modern aesthetic options

for keypads, thermostats, and other components. In September 2017, Lutron expanded the

Palladiom brand and announced its new Palladiom shading system at the CEDIA Expo trade

show in San Diego, California. Compl. (Dkt. 1) ¶¶ 48, 52, 56; Geiger Decl. (Dkt. 16) ¶ 26; Pejic

Decl. (Dkt. 35) ¶¶ 5–6. The Palladiom shading system—including a jamb bracket, a center
2
  See also Breedlove Decl. (Dkt. 36-1) Ex. 1 (GeigTech 6/19/18 press release announcing this
lawsuit and accusing Lutron of “‘poach[ing]’” GeigTech’s “‘simply modern’ look”).



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         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 10 of 33



bracket, and an end bracket—was “prominently featured” in Lutron’s booth, in both fully

assembled form and as loose parts. Pejic Decl. (Dkt. 35) ¶¶ 7–9 & Ex. 2. As GeigTech concedes,

its founder and president, James Geiger, visited Lutron’s booth in September 2017 and

specifically noted the appearance of Lutron’s Palladiom shade brackets. Id. ¶¶ 10–11; Geiger

Decl. (Dkt. 41-2) ¶ 4. After announcing its new Palladiom shading system in September 2017,

Lutron then engaged in extensive efforts, at significant expense, to promote the system to the

target market and to familiarize dealers and installers with the system and its technical details

and installation requirements. Blair Decl. ¶ 12.

       Also in September 2017, Lutron launched a webpage for the Palladiom shading system,

which included images of the products. Pejic Decl. (Dkt. 35) ¶ 6. In October 2017, Lutron added

to the webpage a downloadable brochure and a specifications sheet that included detailed images

of the brackets’ outer and internal appearances as well as technical details and measurements. Id.

¶ 6 & Ex. 1; Blair Decl. ¶¶ 9–10 & Exs. 1–2.

       Although Mr. Geiger saw working samples of the brackets at the CEDIA show in

September 2017 and had access by October 2017 to detailed technical specifications and images

published in obvious locations online, GeigTech did not object at that time, neither suing nor

sending a letter. Instead, it waited until June 12, 2018—nine months after seeing Lutron’s

products at CEDIA—to sue (and to issue a press release). Nine days later, GeigTech served the

complaint on Lutron, and only then did it file its motion for injunctive relief.

                                           ARGUMENT

       “A preliminary injunction is an extraordinary remedy” and is available only where the

movant demonstrates that he “is likely to succeed on the merits, that he is likely to suffer

irreparable harm in the absence of preliminary relief, that the balance of equities tips in his favor,

and that an injunction is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,


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         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 11 of 33



20, 24 (2008).3 GeigTech does not satisfy any—much less all—of these requirements.

I.     GEIGTECH HAS NOT SHOWN THAT IT WILL SUFFER IRREPARABLE
       INJURY ABSENT A PRELIMINARY INJUNCTION.

       A.      GeigTech’s unjustified nine-month delay in filing suit and seeking
               preliminary relief confirms that expedition is not needed.

       It is well established in this Circuit that a plaintiff’s delay “undercuts the sense of

urgency that ordinarily accompanies a motion for preliminary relief and suggests that there is, in

fact, no irreparable injury.” Citibank, N.A. v. Citytrust, 756 F.2d 273, 277 (2d Cir. 1985)

(vacating preliminary injunction due to ten-week delay) (citation omitted). Indeed, an

unexplained delay—“standing alone”—may “preclude the granting of preliminary injunctive

relief” by establishing a lack of irreparable injury. Tough Traveler, Ltd. v. Outbound Prods., 60

F.3d 964, 968 (2d Cir. 1995) (vacating preliminary injunction due to nine-month delay between

when the plaintiff’s president admitted to first seeing the allegedly infringing product and when

the plaintiff moved for a preliminary injunction). Courts in this Circuit routinely deny requests

for preliminary injunction when the movant’s delay demonstrates a lack of irreparable injury.4


3
  The Court of Appeals also holds that it is possible to grant an injunction where there are
“sufficiently serious questions going to the merits,” but that “serious questions” standard permits
a district court to grant a preliminary injunction only “in situations where it cannot determine
with certainty that the moving party is more likely than not to prevail on the merits of the
underlying claims, but where the costs outweigh the benefits of not granting the injunction….
Because the moving party must not only show that there are ‘serious questions’ going to the
merits, but must additionally establish that ‘the balance of hardships tips decidedly’ in its favor,
its overall burden is no lighter than the one it bears under the ‘likelihood of success’ standard.”
Citigroup Glob. Mkts., Inc. v. VCG Special Opportunities Master Fund, Ltd., 598 F.3d 30, 35 (2d
Cir. 2010) (citations omitted; emphasis by the Court of Appeals).
4
  See, e.g., Monowise Ltd. Corp. v. Ozy Media, Inc., 2018 WL 2089342, at *2 (S.D.N.Y. May 3,
2018) (delay of “almost nine months” warranted denial of preliminary injunction motion); Bear
U.S.A., Inc. v. A.J. Sheepskin & Leather Outerwear, Inc., 909 F. Supp. 896, 910 (S.D.N.Y. 1995)
(3 months); Century Time Ltd. v. Interchron Ltd., 729 F. Supp. 366, 369 (S.D.N.Y. 1990) (over 2
months); Gidatex S.r.L. v. Campaniello Imps., Ltd., 13 F. Supp. 2d 417, 420 (S.D.N.Y. 1998)
(4.5 months); Two Kids From Queens, Inc. v. J & S Kidswear, Inc., 2009 WL 5214497, at *3
(E.D.N.Y. Dec. 30, 2009) (5 months); The Deal, LLC v. Korangy Publ’g, Inc., 309 F. Supp. 2d


                                                  4
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 12 of 33



       Lutron announced its Palladiom shading system at the September 2017 CEDIA Expo

trade show and prominently displayed actual specimens of the brackets at issue during the show.

Compl. (Dkt . 1) ¶¶ 48, 52, 56; Geiger Decl. (Dkt. 16) ¶ 26; Pejic Decl. (Dkt. 35) ¶¶ 5–8.

GeigTech’s founder and president, James Geiger, visited Lutron’s booth at the CEDIA show at

least twice and observed and commented on the Palladiom shading system. Pejic Decl. (Dkt. 35)

¶¶ 9–10; Geiger Decl. (Dkt. 41-2) ¶ 4. Yet GeigTech did not notify Lutron of any objection until

June 2018, nine months later when it sued.

       GeigTech attempts to explain its astonishing delay by arguing that the CEDIA show

merely put GeigTech “on notice of the possibility of the sale of a potentially infringing product

in the future.” Dkt. 41 at 2. But the evidence shows that this assertion is not credible. The

brackets that Mr. Geiger saw in Lutron’s CEDIA booth in September 2017 included working

specimens; the brackets were displayed in a full-page ad on the back cover of the official CEDIA

show magazine; the brackets were displayed on the Palladiom shading page on Lutron’s website

since September 2017; the brackets were advertised and described in detail (accompanied by

detailed images and technical specifications) in other materials published on Lutron’s website by

October 2017; and the brackets won at least one industry award in early 2018. Pejic Decl. (Dkt.

35) ¶¶ 5–10 & Ex. 1; Blair Decl. ¶¶ 6–11, 14 & Exs. 1–4; Geiger Decl. (Dkt. 41-2) ¶ 4. Nothing

suggested that the brackets Mr. Geiger saw were “mere prototypes,” and the materials on

Lutron’s public website in the fall of 2017 confirmed that these were actual products being

marketed to the public. Blair Decl. ¶¶ 9–11.

       Moreover, trade show promotion is routinely held to put a plaintiff on notice of

intellectual property claims. Thus, in W.B. Marvin Mfg. Co. v. Howard Berger Co., 33 Fed.


512, 521 (S.D.N.Y. 2004) (4 months); Christopher Norman Chocolates, Ltd. v. Schokinag
Chocolates N. Am., Inc., 270 F. Supp. 2d 432, 438 (S.D.N.Y. 2003) (8 to 9 months).


                                                  5
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 13 of 33



App’x 588 (2d Cir. 2002), the Court of Appeals held that the plaintiff unduly delayed in suing

and seeking a preliminary injunction for trade dress infringement when it “could have filed its

lawsuit” when it saw defendant’s product at a trade show. Id. at 592 (affirming denial of

preliminary injunction). See also, e.g., Am. Permahedge, Inc. v. Barcana, Inc., 857 F. Supp. 308

(S.D.N.Y. 1994) (measuring delay from when plaintiff first learned of allegedly patent-infringing

product at trade shows); Citibank, 756 F.2d 273, 276 (measuring delay from when plaintiff

learned, through the media, about the defendant’s plans); Allen Organ Co. v. CBS, Inc., 1986 WL

4901, at *2 (S.D.N.Y. Apr. 21, 1986) (measuring delay from when plaintiff saw allegedly

infringing product in the advertising brochure).5

       In addition, there is no merit to the suggestion that GeigTech could not assess the patent

claim without seeing the inner workings of the product: The brackets at Lutron’s CEDIA booth

included loose specimens with the inner workings visible, and, as noted above, Lutron published

easily located photos of the inside of the brackets, as well as diagrams of technical specifications,

beginning in October 2017. Blair Decl. ¶¶ 9–11 & Exs. 1–2; Pejic Decl. (Dkt. 35) ¶¶ 6–7 &

Ex. 1. Tellingly, plaintiff used those very diagrams in its complaint and patent claim chart, which

repeatedly cite the Palladiom product brochure and specifications document that were published

online in October 2017. See Sorden Decl. (Dkt. 17) Exs. 1 & 2; Compl. (Dkt. 1) ¶¶ 31–34; Blair

Decl. ¶¶ 9–12 & Exs. 1, 2. And as for GeigTech’s trade dress and unjust enrichment claims,

which relate to the outer look of the brackets, there was no need for further investigation.6

5
  For the sake of accuracy, Palladiom shading products were shipped to some Lutron dealers
starting in November 2017. Blair Decl. ¶ 13. In addition, GeigTech erroneously says (Dkt. 41 at
3 n.2) that one dealer posted a video on YouTube on “May 21, 2018” announcing the products’
first availability in Colorado; the cited YouTube video is actually dated March 21, 2018.
6
 The cases cited in GeigTech’s reply brief (Dkt. 41 at 2–3) are factually much different. In
Weight Watchers Int’l, Inc. v. Luigino’s, Inc., 423 F.3d 137, 144–45 (2d Cir. 2005), the party
seeking to modify an injunction contacted the other party promptly after discovering the


                                                    6
           Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 14 of 33



          B.     Even apart from its delay, GeigTech’s conclusory assertions are insufficient
                 on their face to meet its burden of demonstrating irreparable injury.

          A party seeking a preliminary injunction may no longer rely on a presumption of

irreparable injury, but “must show that, on the facts of [its] case, the failure to issue an injunction

would actually cause irreparable harm.” Salinger v. Colting, 607 F.3d 68, 82 (2d Cir. 2010); see

also eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391–93 (2006). GeigTech has recently

suggested that, absent an injunction, competition from Lutron will “crush” the company. Dkt. 41

at 1. But that suggestion is undermined not only by GeigTech’s failure to show anything unfair

about Lutron’s competition, but also by GeigTech’s nine-month silence after the Palladiom

system’s very public launch last year. To support its assertion of irreparable injury, GeigTech

relies on a few paragraphs from Mr. Geiger’s declaration, which GeigTech contends shows

irreparable injury in the form of lost sales, lost goodwill, and “possibly” price erosion. Dkt. 15 at

23 (citing Geiger Decl. (Dkt. 16) ¶¶ 34–41). However, Mr. Geiger’s declaration contains only

vague, conclusory assertions of harm with no factual details related to this case. See, e.g., Geiger

Decl. (Dkt. 16) ¶ 36 (conclusory allegation that Lutron’s so-called “poaching” will cause

GeigTech to lose goodwill and damage its reputation).7 GeigTech cannot meet its burden to


packaging at issue, and, when its effort to resolve the issue was unsuccessful, spent a few months
conducting necessary consumer testing before moving to modify the injunction. In Tom Doherty
Assocs. v. Saban Entm't, 60 F.3d 27, 39–40 (2d Cir. 1995), plaintiff’s employee merely heard
about the book at issue from a news account, and filed suit three weeks after learning that
another publisher had published a book in violation of plaintiff’s contractual rights. Here,
GeigTech was directly aware of Lutron’s new product nine months before seeking relief—more
than twice as long as the delay in Tom Doherty. In Fisher-Price Inc. v. Well-Made Toy Mfg.
Corp., 25 F.3d 119, 121 (2d Cir. 1994), plaintiff merely heard a “rumor” about infringing
products but apparently did not see them until around one month before it sought an injunction.
And in Hasbro Inc. v. Lanard Toys Ltd., 1987 WL 123983, at *6 (S.D.N.Y. Nov. 18, 1987),
rev’d, 858 F.2d 70 (2d Cir. 1988), the Court of Appeals found no undue delay where plaintiff
formally objected to defendant’s conduct and commenced discussions within one month, and
filed suit less than two months later.
7
    GeigTech also claims that “it is axiomatic that any sale by Lutron will be a lost sale for


                                                    7
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 15 of 33



show irreparable injury by merely parroting back language from case law in the form of a

declaration without any supporting detail.

II.    GEIGTECH IS NOT LIKELY TO SUCCEED ON ITS PATENT CLAIM.

       A plaintiff seeking a preliminary injunction in a patent case “must show that, in light of

the presumptions and burdens applicable at trial, it will likely prove” infringement and “that the

patent will likely withstand” a validity challenge. Tate Access Floors, Inc. v. Interface

Architectural Res., Inc., 279 F.3d 1357, 1365 (Fed. Cir. 2002); see also Chem. Eng’g Corp. v.

Marlo, Inc., 754 F.2d 331, 334 (Fed. Cir. 1984) (“[A] high burden of factual proof must be

carried by a plaintiff seeking a preliminary injunction.”). Where the accused infringer “raises a

‘substantial question’ concerning validity, enforceability, or infringement (i.e., asserts a defense

that [the patentee] cannot show ‘lacks substantial merit’) the preliminary injunction should not

issue.” Genentech, Inc. v. Novo Nordisk A/S, 108 F.3d 1361, 1364 (Fed. Cir. 1997).

       Here, GeigTech fails to make even a prima facie case of patent infringement, offering

only conclusory and incomplete attorney argument. Moreover, substantial questions related to

validity and enforceability abound.

       A.      GeigTech’s patent infringement claim is narrow and unsupported and is not
               likely to succeed on the merits.

       While GeigTech’s requested injunction targets Lutron’s entire Palladiom shading system,

GeigTech’s patent infringement claim is limited to just one bracket, the Palladiom jamb bracket,

which GeigTech accuses of infringing claims 9 and 15 of the ’821 patent. Compl. (Dkt. 1) ¶¶

31–34. GeigTech does not allege that Lutron’s end and center brackets infringe the ’821 patent.

       Despite having many months to prepare its patent infringement argument for just one


GeigTech.” Dkt. 41 at 4. Although this is a dubious proposition (see Blair Decl. ¶ 25), if true, it
suggests that any lost sales by GeigTech will be measurable in money damages, negating any
claim of irreparable harm.


                                                  8
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 16 of 33



product, GeigTech’s jamb-bracket patent allegations suffer at least four glaring deficiencies:

           1. GeigTech fails to disclose the prosecution history of its patent, in which it was
              forced to limit both asserted claims by adding the “key” and “pin” requirements.

           2. GeigTech fails even to attempt a construction of the claim elements reciting these
              critical “key” and “pin” requirements (or any other claim element).

           3. GeigTech offers only incomplete attorney argument in a claim chart—and no
              expert opinion whatsoever—to somehow link the patent claim elements to the
              jamb bracket used in Lutron’s Palladiom system.

           4. Even in the expert-less claim chart, GeigTech’s attorney argument effectively
              skips over the required “key” and “pin” structures, among others.

GeigTech has already had the chance to address these deficiencies in Plaintiff’s Reply

Memorandum of Law in Support of Motion for Expedited Discovery (“Discovery Reply”). See

Dkt. 41. Yet despite having the burden, GeigTech continues to avoid claim construction and

evidence. And most notably of all, GeigTech still does not explain how Lutron’s jamb bracket

could possibly satisfy both the “key” and “pin” elements of the asserted claims. See id. at 4–7. It

is apparent that GeigTech has not done the basic work necessary to file a patent case, much less

to come to Court seeking the extraordinary remedy of a preliminary injunction.

               1.      The asserted patent claims were narrowed during prosecution in
                       important ways.

       In its response to GeigTech’s motion for expedited discovery, Lutron highlighted the

claim amendments that GeigTech made during prosecution of U.S. Patent No. 9,237,821 (the

“’821 patent”) in order to get the Patent Office to allow asserted claims 9 and 15 and issue the

patent. Dkt. 37 at 9–10. In reply, GeigTech misrepresents that “Lutron asserts the claim scope of

the asserted claims were [sic] disclaimed during prosecution.” Dkt. 41 at 5. What GeigTech did

in prosecution was not mere disclaimer (a claim construction doctrine)8; it was claim


8
  Prosecution history disclaimer is a doctrine of claim construction. It “preclud[es] patentees
from recapturing through claim interpretation specific meanings disclaimed during prosecution.”


                                                 9
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 17 of 33



amendment, which necessarily affects the scope of a claim—specifically, GeigTech narrowed

then-pending claim 7 by adding claim requirements, particularly the “key” element (now claim

9) and “pin” element (now claim 15). Other than these elements, the two asserted claims are

identical. Both claims have the following structural elements:

             •     Two “disk-shaped mounting brackets”

             •     Each bracket has one side configured to bear against a flat surface and one side
                   having “a projection configured to hold an end of a tube shade”

             •        Each bracket has two recessed apertures to receive a fastener to secure the
                      mounting bracket to the flat surface

The two claims differ only in the final element:

          Claim 9 – final element                               Claim 15 – final element
 wherein the projection of at least one of              wherein the projection of at least one of
 the mounting brackets is configured as a               the mounting brackets is configured to
 key to engage a tube shade clutch or a tube            receive a tube shade pin or a motorized
 shade motor.                                           tube shade idler pin.

These final elements were added by GeigTech during prosecution to get around unrefuted prior

art that the Patent Examiner relied on to reject the original claims. See Dkt. 37 at 9–10.

       GeigTech fails to mention this history even as it seeks equitable relief. Its failure is

particularly inappropriate given that, as shown below, these added claim limitations are not

present in the accused jamb bracket.

                 2.        GeigTech makes no attempt to construe critical claim elements and
                           glosses over the requirement to compare them to the accused product.

       Evaluating infringement requires a two-step inquiry; yet GeigTech’s motion skips the

first step. In that first step, a court must determine the scope and meaning of “any disputed terms

and limiting expressions in the [patent] claims” as a matter of law. Vivid Techs., Inc. v. Am. Sci.

& Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999); see also Phillips v. AWH Corp., 415 F.3d

Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003). But here, GeigTech
has not even addressed claim construction.


                                                   10
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 18 of 33



1303, 1312 (Fed. Cir. 2005) (noting “‘bedrock principle’ of patent law that the claims of a patent

define the invention to which the patentee is entitled the right to exclude”) (citation omitted).

       GeigTech offers no claim construction. This alone confirms it has failed to carry its

burden. See Fair Isaac Corp. v. Int’l Bus. Machs. Corp., 2006 WL 1283852, at *6–7 (D. Minn.

2006) (finding the plaintiff, by failing to construe important claim terms, failed to carry its

burden of showing likelihood of success on the merits); Millipore Corp. v. W.L. Gore & Assocs.,

Inc., 2011 WL 5513193, at *8-11 (D.N.J. Nov. 9, 2011) (same).

And GeigTech has no room to argue that it did not realize the “key” and “pin” elements would

be disputed claim limitations. Images from Lutron’s Palladiom literature show nothing

resembling a “key” projecting from the Palladiom bracket, or the bracket receiving a tube shade

“pin.” Again, claim 9 requires the projection “is configured as a key,” and claim 15 requires the

projection “is configured to receive a tube shade pin.” Yet GeigTech’s claim chart identifies the

same alleged “projection” of Lutron’s jamb bracket for both claims—i.e., the blue structure

highlighted in GeigTech’s claim-chart excerpt below (left). In marked contrast, the “key” in the

jamb bracket of GeigTech’s ’821 patent is the little projection numbered 740 in the patent figures

below (right), showing two views of the bracket.




Excerpt from Claim Chart, Dkt. 12-8, at 3 & 9             Figures 7A & 7B of the ’821 Patent

The patent illustrates a basic “key” that can insert into a similarly-shaped key hole. And, not

surprisingly, the patent in no way suggests that the same projection that is the “key” could also



                                                 11
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 19 of 33



be the projection “to receive a tube shade pin.” Rather, to illustrate a projection configured to

receive a pin, Figure 6 of GeigTech’s patent shows “a projection (622) having a bore (623)

configured to receive an idler pin.” ’821 patent at 5:45–47. Again, not surprisingly, that bore

(623) seems just the right size and shape—a small circular hole—to receive a classic “pin”:




                                   Figure 6D of the ’821 Patent

Thus, it is readily apparent how the simple jamb brackets in GeigTech’s patent include the “key”

and “pin” elements: Figure 7 illustrates the first type of GeigTech bracket with a “key,” and

Figure 6 illustrates the second type of GeigTech bracket configured to receive a “pin.”9

GeigTech’s claim chart leaves it a mystery, however, as to how Lutron’s jamb bracket—having a

completely different structure than GeigTech’s jamb brackets—could possibly satisfy either

element, much less both elements simultaneously.10

       Remarkably, GeigTech’s only explanation for glossing over these critical limitations in

9
  In its reply on its expedited discovery motion, GeigTech misstates the law, arguing that “the
Federal Circuit has long held that figures should not be used to construe claims.” Dkt. 41 at 6.
That is simply wrong. Drawings are absolutely part of the intrinsic evidence to be considered in
construing patent claims. See Power Integrations, Inc. v. Fairchild Semiconductor Int'l, Inc., 711
F.3d 1348, 1360 (Fed. Cir. 2013) (“We interpret the claim’s words ‘in light of the intrinsic
evidence of record, including the written description, the drawings, and the prosecution
history.’”) (quoting Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1324 (Fed. Cir. 2002)).
So, if GeigTech ever tries to meet its burden of proof on infringement and proffers a proposed
claim construction, it will not be able to run from the figures in its patent.
10
  Given this technological mystery, GeigTech’s failure to offer expert testimony is conspicuous.
Cf. Centricut, LLC v. Esab Grp., Inc., 390 F.3d 1361, 1369 (Fed. Cir. 2004) (“In other areas of
the law courts have held that relevant expert testimony regarding matters beyond the
comprehension of laypersons is sometimes essential. Expert testimony may be similarly
important in patent cases involving complex technology such as this one.”) (footnote omitted).


                                                 12
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 20 of 33



its claim chart is that “this is precisely why expedited discovery is necessary.” Dkt. 41 at 6.

Wrong. This deficiency in GeigTech’s argument and evidence is yet another reason why

expedited discovery and a preliminary injunction are unwarranted. GeigTech cannot show a

likelihood of success on the merits of its patent infringement claim.

       B.      There are also substantial and serious questions about the validity and
               enforceability of GeigTech’s patent.

       In its investigation during the weeks since this suit was filed, Lutron has learned

disturbing facts about GeigTech’s prosecution of the ’821 patent that call the patent’s

enforceability and validity into question. At the heart of it all is a shade-motor manufacturer

known as Somfy Systems.

       Lutron understands that GeigTech does not itself make shade motors. Instead, apparently

GeigTech has for years used Somfy motors. A comparison of Somfy and GeigTech specification

sheets, for example, confirms that GeigTech uses a Somfy motor—specifically the Sonesse® 30

RTS—but without the “Somfy” branding:




                   Excerpt from Somfy Sonesse® 30 RTS Specification Sheet11




                           Excerpt from J Geiger Specification Sheet12


11
  “© Copyright Somfy Systems, Inc. 5/2018” (excerpted from https://service.somfy.com/
downloads/nam_v4/sonesse30_rts_-_d-0103.pdf). Breedlove 7/26 Decl. Ex. 2.


                                                 13
           Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 21 of 33



         In its patent, GeigTech states that an embodiment of its invention “is designed for use

with motorized shades, wherein one mounting bracket is configured to key the shade motor.”

’821 patent at 1:36-39. But GeigTech did not disclose to the Patent Office that its brackets were

made, as it appears, specifically for pre-existing Somfy shade motors. Somfy is never even

mentioned in the patent. Nor does it appear that GeigTech disclosed relevant Somfy literature to

the Patent Office for the Examiner to consider. As explained below, that literature would have

suggested strongly to the Patent Examiner that (1) not only were critical claim elements, such as

the “key,” obvious under 35 U.S.C. § 103, they were practically mandated; and (2) Somfy’s own

brackets, designed for Somfy shades and motors many years before GeigTech’s patent

application, anticipate and invalidate both claim 9 and claim 15.

                1.      Unbeknownst to the Patent Examiner, pre-existing Somfy shades and
                        motors practically mandated the “key” limitation that GeigTech
                        added to secure its patent.

         It turns out that the bracket with the “key” in claim 9 of the ’821 patent is essentially the

inverse of the Somfy shade motor the bracket was apparently designed to mount. This can be

seen from a guide that Somfy published in 2009 for the Sonesse® 30 RTS motor (the Somfy

motor shown above). Page 3 of the guide includes the following figure illustrating how to mount

the motorized shade tube to a Somfy bracket:




                                     Sonesse® 30 RTS catalog13

12
   “© 2016 J|Geiger Shading Technology” (excerpted from https://static1.squarespace.com/
static/581a2c2c893fc0c77e3689b4/t/59131e58ff7c505de89fffeb/1494425184936/Motors+and+A
utomation.pdf). See Breedlove 7/26 Decl. Ex. 3.
13
     “Copyright © 2009 Somfy SAS. All rights reserved - V0 - 09/2009” (excerpted from


                                                   14
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 22 of 33




This guide is dated three years prior to GeigTech’s May 15, 2012 provisional patent application

that ultimately led to the ’821 patent. Magnification of the left side of the shade tube shows the

“Somfy” stylized brand and the key hole for which GeigTech’s “key” was apparently designed.

A magnified image is shown below next to the patent’s mounting bracket illustration:




                 Magnified Somfy shade (2009)          ’821 patent Fig. 7A (2012)

       A patent applicant has a duty of candor, good faith, and honesty to the Patent Office, and

a breach of that duty may constitute inequitable conduct barring enforcement of the patent that

results. U.S. Water Servs., Inc. v. Novozymes A/S, 843 F.3d 1345, 1352 (Fed. Cir. 2016). In this

case, GeigTech did not disclose to the Patent Office any Somfy literature to show the Patent

Office the preexisting third-party motor that apparently inspired GeigTech’s bracket design; nor

did it disclose long pre-existing Somfy brackets, discussed below, that are strikingly close to

GeigTech’s description of its own alleged jamb-bracket invention. Given the obvious connection

between GeigTech brackets and Somfy shade motors, it would be unreasonable to assume

GeigTech had no knowledge of the Somfy products. Thus, GeigTech’s failure to disclose creates

a substantial question as to whether the ’821 patent is even enforceable.




https://service.somfy.com/downloads/hu_v4/sonesse30_rts_en.pdf). See Breedlove 7/26 Decl.
¶ 3 & Ex. 1.



                                                 15
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 23 of 33



               2.      Still earlier Somfy shade brackets, which GeigTech also did not
                       disclose to the Patent Office, invalidate claims 9 and 15.

       Years before the 2009 Somfy guide excerpted above, Somfy published a 2003 catalog

which listed its own mounting brackets for motorized shades. Some of these brackets were “disk-

shaped” (to use the term from the much-later ’821 patent).14 Pages 37 and 43 of the catalog

illustrate particularly pertinent examples of a complementary pair of brackets:




                            Excerpt from Somfy 2003 catalog, page 37




                            Excerpt from Somfy 2003 catalog, page 43

These mounting brackets for Somfy motorized shades create a substantial question, to say the

least, that claims 9 and 15 are invalid as anticipated, or at least as obvious (depending on how

GeigTech will propose to construe claim terms). The brackets track GeigTech’s alleged

invention closely, as exemplified by comparing them to embodiments in the patent drawings:




14
  “© Somfy Systems, Inc. 12/2003” (excerpted from https://www.floridaautomatedshade.com/
v/Somfy_Motor_Catalog_light.pdf). See Breedlove 7/26 Decl. ¶ 6 & Ex. 4.



                                                16
           Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 24 of 33



                                              Claim 9 Illustration

 Projection to                                                 Projection to    Disk-shaped
 engage tube               Disk-shaped                         engage tube      mounting bracket
 shade motor               mounting bracket                    shade motor
                                                                                                 Aperture to
                                                                                                 receive a fastener
                                Aperture to
                                receive a fastener




          Somfy LT50 Motor Bracket (2003)                             ’821 patent Fig. 7A (2012)

                                              Claim 15 Illustration

 Projection to                                                                   Projection to
                                                             Disk-shaped
                                                                                 receive tube
 receive tube               Disk-shaped                      mounting bracket
                                                                                 shade pin
 shade pin                  mounting bracket

                                                                                                    Aperture to
                                   Aperture to                                                      receive a fastener
                                   receive a fastener




          Somfy LT50 Idler Bracket (2003)                             ’821 patent Fig. 6A (2012)

          In summary, GeigTech has not shown, and cannot show, that in light of the presumptions

and burdens applicable at trial, it will likely prove infringement and that the patent will likely

withstand a validity challenge. To the contrary, GeigTech fails to make even a prima facie case

for infringement, and already there are numerous substantial questions concerning validity and

enforceability which preclude a preliminary injunction.

III.      GEIGTECH IS NOT LIKELY TO SUCCEED ON ITS TRADE DRESS CLAIM.

          A plaintiff seeking to protect an unregistered product design trade dress under

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), must plead and prove that (1) the design




                                                        17
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 25 of 33



has achieved secondary meaning; (2) the design is non-functional; and (3) there is a likelihood of

confusion between the parties’ goods. Yurman Design, Inc. v. PAJ, Inc., 262 F.3d 101, 114–15

(2d Cir. 2001). The plaintiff also has the burden to “articulate the design elements that compose

the trade dress.” Id. at 116. As set forth below, and as will be explained more fully in Lutron’s

forthcoming partial motion to dismiss, GeigTech’s trade dress claim fails on all of these fronts.

       First, GeigTech fails to adequately articulate its purported trade dress. GeigTech defines

its trade dress as a combination of a (i) a jamb bracket with a “clean circular element that is

integral and seamless with both the shade and the wall”; (ii) a “U-shaped” center bracket that

“fits seamlessly between two shade ends that abut the same”; and (iii) a “U-shaped” end bracket

that “stands alone in its ornamental connection of the end of the shade to the wall.” Geiger Decl.

(Dkt. 12-1) ¶¶ 17, 18, 20, 22. Putting aside that GeigTech is describing parts of its design that

have utilitarian and aesthetic functionality and are therefore unprotectable, all GeigTech has

articulated is the vague concept of combining modern-looking circular and U-shaped brackets

together. But trade dress does not protect “an idea, a concept, or a generalized type of

appearance,” and “trade dress claims raise a potent risk that relief will impermissibly afford a

level of ‘protection that would hamper efforts to market competitive goods.’” Yurman, 262 F.3d

at 115 (citation omitted). Courts have repeatedly found descriptions of purported trade dresses

that are even more detailed than GeigTech’s to be insufficient as a matter of law.15



15
   See Sara Designs Inc. v. A Classic Time Watch Co., 234 F. Supp. 3d 548, 555 (S.D.N.Y. 2017)
(dismissing claim for infringement of unregistered watch design trade dress because the plaintiff
failed “to articulate the precise nature of [its] trade dress” and its complaint merely contained “a
high level description of features of several watches, such as ‘gradient chain,’ ‘lobster claw
closure,’ and ‘leaf-shaped logo,’ without allegations as to whether and how those features [were]
distinctive”); Tracey Tooker & TT Ltd., Inc. v. Whitworth, 212 F. Supp. 3d 429, 434 (S.D.N.Y.
2016) (dismissing claim for infringement of unregistered hat design where the plaintiff’s
complaint contained only “numerous photos of her hats,” and “sweeping descriptions” of the
elements of the claimed trade dress); Thompson v. V.E.W. Ltd, Coty, Inc., 2007 WL 1746739, at


                                                 18
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 26 of 33



       Second, GeigTech fails to establish that its purported trade dress has achieved secondary

meaning—i.e., that “in the minds of the public, the primary significance of [the mark] is to

identify the source of the product rather than the product itself.” Yurman, 262 F.3d at 115.16

Although the burden to establish secondary meaning in a product design is particularly high,

GeigTech devotes only a single paragraph to the issue in its brief, consisting of only conclusory

statements that parrot back the legal standard with no factual detail. See Dkt. 15 at 11–12. As

evidence, GeigTech cites nothing except for a few paragraphs in Mr. Geiger’s declaration, which

contain (1) an unsupported assertion that GeigTech’s products are widely recognized in the

industry; (2) the year-over-year percentage increases in GeigTech’s sales for the last three years,

without any actual sales numbers at all; and (3) an assertion that GeigTech has spent $1.2 million

in advertising over three years for its entire product line, without any evidence of how that

advertising relates to the claimed trade dress of the specific products at issue. See Geiger Decl.

(Dkt. 16) ¶¶ 12–14. GeigTech offers no evidence of its actual sales, no consumer surveys, no

third-party declarations, no evidence of unsolicited media coverage, and no evidence of prior

attempts to plagiarize its design. Cf. Mana Prods., Inc. v. Columbia Cosmetics Mfg., Inc., 65

F.3d 1063, 1071 (2d Cir. 1995) (listing secondary meaning factors). Given the number of

generally similar minimalist designs for shade brackets in the market (Pejic Decl. (Dkt. 35) ¶ 12),

this paucity of evidence is insufficient as a matter of law to show that GeigTech’s claimed trade

dress is distinctive. See Mana Prods., 65 F.3d at 1067 (holding that $3 million in advertising and


*3 (S.D.N.Y. June 15, 2007) (dismissing claim for infringement of unregistered jewelry design
for failure to provide “an adequate articulation of a distinctive trade dress”).
16
  GeigTech incorrectly suggests that, instead of showing secondary meaning, it can show that its
claimed trade dress is “inherently distinctive.” Dkt. 15 at 10. However, As a matter of law,
product designs are never inherently distinctive, and they always require secondary meaning. See
Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205, 206, 215 (2000).



                                                 19
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 27 of 33



an affidavit of a third-party customer was insufficient); P.F. Cosmetique, S.A. v. Minnetonka

Inc., 605 F. Supp. 662, 672– 73 (S.D.N.Y. 1985) (holding that $5 million in cumulative

advertising and $6 million in cumulative sales for the entire product line was insufficient).17

       Nor can GeigTech seriously contend that there is any evidence of intentional copying that

supports a claim of secondary meaning, much less that such evidence would establish that the

“primary significance of [the claimed design] is to identify the source of the product rather than

the product itself.” Yurman, supra. GeigTech does not identify a single non-functional element

of its claimed trade dress that Lutron purportedly copied. Contrary to its assertions, it does not

have any evidence for its claim that Lutron markets its product “as the same as” its own (Dkt. 41

at 8), and it does not have any proof that Lutron—a leader in the shading business since the

1990s under its LUTRON® brand name, well before GeigTech ever entered the market—has any

interest in trading on any claimed goodwill in GeigTech’s design. In all events, alleged copying

is only relevant where there is an attempt to capitalize on plaintiff’s claimed mark, not where a

defendant’s entry into the market is “more likely based on an effort to capitalize on [a product’s]

intrinsic consumer-desirability.” Cicena, Ltd. v. Columbia Telecomm. Grp., 900 F.2d 1546,

1552 (Fed. Cir. 1990).

       Third, GeigTech fails to carry its burden to show that its purported trade dress is non-

functional. See 15 U.S.C. § 1125(a)(3) (plaintiff asserting unregistered product configuration

trade dress bears “the burden of proving that the matter sought to be protected is not functional”).

17
  In addition, GeigTech cannot use its $1.2 million in total advertising expenditures to prove
secondary meaning because its advertising “promotes the functional advantages of [the] product
and does not call attention to the design [details] alleged to be non-functional” and thus
“provides little if any evidence of secondary meaning.” Urban Grp. Exercise Consultants, Ltd. v.
Dick’s Sporting Goods, Inc., 2013 WL 866867, at *4 (S.D.N.Y. 2013); see Geiger Decl.
(Dkt. 16) ¶ 14 (“No Valances–No Fascias–No Ceiling Pockets–No Visible Screws”) & Ex. 1
(“eliminate the need to hide your roller shades”; “form meets function”).



                                                 20
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 28 of 33



“The functionality doctrine prevents trademark law, which seeks to promote competition by

protecting a firm’s reputation, from instead inhibiting legitimate competition by allowing a

producer to control a useful product feature.” Qualitex Co. v. Jacobson Prod. Co., 514 U.S. 159,

164 (1995). As noted above, GeigTech’s own advertisements and its filings in this case tout the

functional benefits of its purported trade dress, including that the design eliminates the need for

valances, fascias, ceiling pockets, and visible screws.

       Even apart from utilitarian functionality, however, GeigTech’s purported trade dress

plainly has aesthetic functionality. As the Second Circuit has explained, “a mark is aesthetically

functional, and therefore ineligible for protection under the Lanham Act, where protection of the

mark significantly undermines competitors’ ability to compete in the relevant market.” Christian

Louboutin S.A. v. Yves Saint Laurent Am. Holdings, Inc., 696 F.3d 206, 222 (2d Cir. 2012); see

also Ward v. Andrews McMeel Pub., LLC, 963 F. Supp. 2d 222, 238 (S.D.N.Y. 2013). Here, as

described above, GeigTech’s vague and overly broad formulation of its purported trade dress

would encompass any combination of circular and U-shaped brackets that use the “clean lines

and minimalist style” that GeigTech purports to reserve for itself. Dkt. 15 at 2. GeigTech’s only

response is that “[o]ther designs for [the] brackets existed prior to the creation of [GeigTech’s]

bracket that accomplished the purpose of holding shades in place.” Geiger Decl. (Dkt. 16) ¶¶ 19,

21, 23. But that is not the test. The question is whether granting GeigTech a monopoly on its

“clean” and “minimalist” design would significantly harm competition. And it plainly would:

Lutron and third-party competitors would be barred from introducing their own clean, minimalist

window shade designs (such as those using circles which match the shape of roller shades, or

those with low profiles to eliminate light gaps between shades or between the shade and the wall)

which GeigTech itself concedes are desired by purchasers, thereby harming competition and




                                                 21
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 29 of 33



reducing consumer choice.18

       Fourth, GeigTech fails to demonstrate a likelihood of confusion among prospective

purchasers. GeigTech presents no consumer survey evidence supporting a likelihood of

confusion. Its purported evidence of “actual confusion” (see Dkt. 15 at 16) is merely one or two

vague references to GeigTech’s product, which are not even clearly related to the appearance of

Lutron’s product rather than its function or method of installation, and do not indicate any

confusion as to the source of Lutron’s products. Cf. Nora Beverages, Inc. v. Perrier Group of

Am., Inc., 269 F.3d 114, 124 (2d Cir. 2001) (even inquiries about possible relationship between

parties is not evidence of actual confusion). And, as GeigTech admits (Geiger Decl. (Dkt. 16) ¶¶

25, 32), the parties’ respective products are “high-end” and are sold through specialized

distributors, which lessens the possibility of confusion. To the extent that GeigTech’s trade dress

is protectable at all, it is extremely weak given the lack of distinctiveness in its design and the

lack of any evidence that it is viewed as a source-identifier by the public.

       Indeed, the lack of distinctiveness of GeigTech’s design, and the extremely low

likelihood that Lutron’s designs would cause any confusion, are demonstrated by third-party use

of designs that are generally similar to GeigTech’s shade brackets. See Pejic Decl. (Dkt. 35)

¶ 12; Blair Decl. ¶¶ 25–26. Mr. Geiger asserts that these third -party designs are different

because they use slip covers or caps (see Dkt. 41-2 at ¶ 17), but the claimed trade dress relates to

the outward appearance of the product, not its method of assembly. And even from the different

angles presented in Mr. Geiger’s recent declaration, the third -party products look generally

similar to GeigTech’s in their use of minimalist and circular designs. See id. Nor is it relevant

that Mr. Geiger does not view these products as competitors: The issue is whether the look
18
   The brief discussion of functionality in GeigTech’s Discovery Reply does not address—and
does not appear to appreciate the concept of—aesthetic functionality. See Dkt. 41 at 8.



                                                  22
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 30 of 33



claimed by GeigTech is distinctive, not whether the products are identical. See, e.g., Kind LLC v.

Clif Bar & Co., 2014 WL 2619817, at *3 (S.D.N.Y. June 12, 2014) (holding that plaintiff’s

claimed trade dress “is not inherently distinctive” because many other products used one or more

of the elements plaintiff sought to protect; denying injunction).

IV.    GEIGTECH’S UNJUST ENRICHMENT CLAIM IS NOT LIKELY TO SUCCEED

       While GeigTech’s third cause of action is denominated as a claim for unjust enrichment,

GeigTech’s motion papers (Dkt. 41 at 9) describe it as a claim for common law unfair

competition. Under New York law, such a claim is identical to a claim brought under Section

43(a) of the Lanham Act, except that the plaintiff bears the additional burden of proving the

defendant’s bad faith. See Jeffrey Milstein v. Greger, Lawlor, Roth Inc., 58 F.3d 27, 34–35 (2d

Cir. 1995); Heptagon Creations, Ltd. v. Core Grp. Mktg. LLC, 2011 WL 6600267, at *9

(S.D.N.Y. Dec. 22, 2011), aff’d, 507 F. App’x 74 (2d Cir. 2013). Putting aside the issue of bad

faith—of which there is none—GeigTech’s unfair competition claim fails for at least the same

reasons as its trade dress infringement claim. See Bubble Genius LLC v. Smith, 239 F. Supp. 3d

586, 602 (E.D.N.Y. 2017) (“[P]laintiff’s common law unfair competition claim fails for the same

reason that its Lanham Act claim fails: plaintiff has not established ownership of a distinctive,

nonfunctional trade dress.”).

V.     THE BALANCE OF EQUITIES STRONGLY TIPS IN LUTRON’S FAVOR

       As discussed above, Lutron announced and displayed its Palladiom shading products to

the trade and began advertising the products to the public online in September 2017, and, since

that time, has expended significant time and resources marketing its new system, training

dealers, manufacturing products, shipping products for installation in dealer showrooms, and

working diligently to ensure a strong reception by its target market. Blair Decl. ¶¶ 12–13.

GeigTech found out about Lutron’s product in September 2017—now ten months ago—at the


                                                 23
         Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 31 of 33



very event at which it was announced. Mr. Geiger did not object at the trade show; GeigTech did

not ask a lawyer to send a letter to Lutron (and, apparently, did not even consult a lawyer at that

time); it did not do anything at all to let Lutron know that Lutron’s new product purportedly

infringed its claimed rights. To the contrary, GeigTech waited until June 2018 to file its

complaint, and then waited nearly two more weeks to move for a preliminary injunction, while

(1) Lutron, unaware of any objection by GeigTech, was expending time and resources to develop

the market for its new product line; (2) Lutron’s dealers were spending time, money, and

goodwill to train on the new products, install them in their showrooms, and promote them to

their customers; and (3) customers were writing Palladiom products into their blueprints and

other project plans. Blair Decl. ¶¶ 12–13, 20.

       An injunction at this time would cause serious and irreparable injury to Lutron, to its

dealers, and to customers. Lutron’s new product line, widely announced to the trade, would

suddenly be unavailable; the loss of market share and goodwill from that alone would be

incalculable. Moreover, Lutron would be unable to provide products to customers that have

ordered or specified Palladiom shading for their projects, further damaging Lutron’s reputation

for reliability and service in an immeasurable way. And, all of Lutron’s time and effort in

marketing its new product line since September 2017 would be lost. Blair Decl. ¶¶ 12–13, 20.

Lutron’s dealers—many of them small businesses, often family owned—would find themselves

unable to sell a product that they invested substantial time and money to train in, promote, and

install into their showrooms; and their customers would be unable to obtain products that they

had designed into their home and office construction projects, disrupting their plans and

irreparably injuring the goodwill of the Lutron dealers who promoted the products. All of these

irreparable injuries would result because of GeigTech’s nine-month delay in seeking relief.




                                                 24
           Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 32 of 33



          GeigTech, by contrast, would not be irreparably harmed if an injunction is not granted.

GeigTech apparently made the calculation that it did not have to seek relief from the Court last

year, or even to undertake the modest effort to notify Lutron of an objection. Instead, GeigTech

chose to wait until Lutron’s product was in the marketplace. Under these circumstances, the

balance of hardships plainly favors Lutron. See W.B. Marvin, 33 Fed. App’x at 592 (holding that

balance of hardships favored defendant when plaintiff delayed seeking an injunction for four

months after seeing defendant’s product at a trade show, during which time the defendant had

commenced shipment of its product); Am. Permahedge, 857 F. Supp. at 324, 326 (denying

preliminary injunction where, during plaintiff’s delay after seeing defendant’s product at a trade

show, defendant spent money on marketing, advertising, and developing its customer base).

VI.       THE PUBLIC INTEREST WOULD BE DISSERVED BY AN INJUNCTION.

          According to GeigTech, it used to be the only one selling “high-end roller shades with

integrated parts concealed in the mounting system” (Dkt. 15 at 2), “[b]ut now Lutron seeks to

compete” in the sale of these products. Dkt. 41 at 4. There would be no public benefit, however,

to an injunction that effectively granted GeigTech a monopoly in the sale of such products based

on GeigTech’s overly expansive reading of intellectual property law. Moreover, as discussed

above, an injunction would significantly injure those members of the public (including Lutron’s

dealers and customers) who, during GeigTech’s delay in seeking relief, have promoted and sold

Palladiom products, and planned for them in their projects. Blair Decl. ¶¶ 12–13 ,20.

                                          CONCLUSION

          For the foregoing reasons, GeigTech’s motion for a preliminary injunction should be

denied.




                                                  25
        Case 1:18-cv-05290-CM Document 44 Filed 07/27/18 Page 33 of 33



Dated: July 27, 2018                       Respectfully submitted,

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                                      26
